Case 5:17-cv-05089-TLB Document 127               Filed 08/16/21 Page 1 of 3 PageID #: 1024




                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION


JILL DILLARD, JESSA SEEWALD                                                        PLAINTIFFS
JINGER VUOLO, and JOY DUGGAR


vs.                              CASE NO. 5:17-5089-TLB


CITY OF SPRINGDALE, et al.                                                       DEFENDANTS



                      MOTION TO QUASH SUBPOENA DUCES TECUM

        Comes now the Arkansas Department of Human Services (“DHS”), by and through the

undersigned attorney, and for its Motion to Quash Subpoena Duces Tecum pursuant to Fed. R.

Civ. P. 45, states:

        1.      Defendant has served DHS with a Subpoena Duces Tecum to produce “all

investigation files, records, documents, communications, reports, and information regarding or

related to Josh Duggar, Jim Bob Duggar, Michelle Duggar, Jill Dillard (Duggar), Jessa Seewald

(Duggar), Jinger Vuolo (Duggar), and Joy Forsyth (Duggar) or representatives or agents acting on

behalf of those listed herein.” See attached Exhibit A.

        2.      To the extent that any such records exist and that the records include child

maltreatment reports or investigations, and that such records are in the possession of DHS, the

records would be subject to all State confidentiality laws.

        3.      DHS is a Division of the Executive Branch of the State of Arkansas and has the

responsibility for investigating child maltreatment as outlined in the Arkansas Child Maltreatment

Act, Ark. Code Ann. § 12-18-101 et seq.
Case 5:17-cv-05089-TLB Document 127               Filed 08/16/21 Page 2 of 3 PageID #: 1025




       3.      To the extent that any records exist and are in the possession of DHS, the Arkansas

Child Maltreatment Act permits disclosure of information on child maltreatment investigations

only in limited circumstances, none of which includes the Defendant. Ark. Code Ann. § 12-18-

909-910.

       4.      The Defendant does not fall under any of the exceptions to the Arkansas Child

Maltreatment Act’s confidentiality requirements, and Defendant has not asserted that it falls under

any of the exceptions.

       5.      On timely motion, the Court for the district where compliance is required must

quash or modify a Subpoena that requires disclosure of privileged or other protected matter, if no

exception or waiver applies. Fed. R. Civ. P. 45(d)(3)(A)(iii).

       6.      In the event this Court orders DHS to comply with the Subpoena Duces Tecum, the

name of the person who made the child maltreatment report, should any such report exist, should

be redacted. Ark. Code Ann. §§ 12-18-909(c)(1) and 12-18-910(c)(1).

       WHEREFORE, the Arkansas Department of Human Services moves that the Subpoena

Duces Tecum be quashed. If this Court should order DHS to comply with the Subpoena and if any

of the documentation contains the name of a reporter of child maltreatment, DHS moves that the

name and any identifying information on the reporter be redacted, and for all other proper relief to

which it may be entitled.
Case 5:17-cv-05089-TLB Document 127               Filed 08/16/21 Page 3 of 3 PageID #: 1026




                              Respectfully submitted,

                              Arkansas Department of Human Services
                              Office of Chief Counsel


                              By:     /s/ Skye Martin
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                                CERTIFICATE OF SERVICE

         I, Skye Martin, Attorney for the Arkansas Department of Human Services, do hereby
certify that on this 16th day of August, 2021, I electronically filed the above Motion to Quash and
Brief in Support using the CM/ECF System which shall send notification of such filing to all
counsel of record.


                                                            /s/ Skye Martin_____________
                                                            Skye Martin, Ark. Bar No. 2012161
